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                                                                           FILED
                                                               United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                   Tenth Circuit

                               FOR THE TENTH CIRCUIT                        August 7, 2018
                           _________________________________
                                                                         Elisabeth A. Shumaker
                                                                             Clerk of Court
  DR. RACHEL TUDOR,

        Plaintiff - Appellant,

  and

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.                                                       No. 18-6102
                                                    (D.C. No. 5:15-CV-00324-C)
  SOUTHEASTERN OKLAHOMA STATE                              (W.D. Okla.)
  UNIVERSITY, et al.,

        Defendants - Appellees.
                        _________________________________

                                        ORDER
                           _________________________________

  Before MATHESON and PHILLIPS, Circuit Judges.
                    _________________________________

         On July 18, 2018, the court abated this appeal pending the district court’s

  disposition of two post-judgment motions filed by the parties within the 28-day

  period set forth in Federal Rule of Civil Procedure 59—Appellant’s Rule 59(e)

  motion for prejudgment interest, post-judgment interest, and a tax penalty offset

  (Doc. No. 311), and Appellee’s Rule 59 motion for judgment as a matter of law

  or, in the alternative, a new trial (Doc. No. 316). This matter is before us on
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  Appellant’s Motion to Vacate Abatement Order and Appellee’s response in

  opposition to the motion.

        Federal Rule of Appellate Procedure 4(a)(4)(A) provides that certain

  motions under the Federal Rules of Civil Procedure suspend the time to appeal if

  “filed within the time allowed by those rules.” (Emphasis added). Pursuant to

  Rule 4(a)(4)(B), a notice of appeal filed before the disposition of any motion

  listed in Rule 4(a)(4)(A) does not become effective until the district court

  disposes of all such motions.

        Appellant argues that neither of the motions cited in this court’s abatement

  order requires the abatement of this appeal. First, she contends that she has

  withdrawn her Rule 59(e) motion for prejudgment interest via the filing of an

  amended Rule 59(e) motion (Doc. No. 314) wherein she only requests post-

  judgment interest and a tax penalty offset and asks the district court to strike her

  first motion for prejudgment interest. Second, Appellant argues that Appellee’s

  Rule 59 motion does not suspend this appeal because it was not timely filed by

  December 11, 2017, the deadline set by the district court.

        Although Appellant has asked the district court to strike her first Rule

  59(e) motion, the district court has not yet ruled on that request, so it is not clear

  that the motion has been withdrawn. Moreover, Appellant’s amended Rule 59(e)

  motion was also filed within the 28-day period set forth in Rule 59. Appellant

  contends that her amended motion requests conditional relief that cannot be

  adjudicated until after this court decides this appeal, but she has provided no

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  legal authority for this contention, and it is not clear that is the case. See E.E.O.C.

  v. Beverage Distributors Co., LLC, 780 F.3d 1018, 1023 (10th Cir. 2015)

  (deciding tax offset issue before appeal was decided). In addition, this court has

  discretion to abate for prudential and efficiency reasons, including avoidance of

  piecemeal appeals. Finally, while Appellee did not file its motion to alter or

  amend the judgment until July 5, 2018, it was filed within the 28-day period set

  forth in Federal Rule of Civil Procedure 59. As a result, regardless of any

  deadline set by the district court, pursuant to Fed. R. App. P. 4(a)(4), the notice

  of appeal is not yet effective to confer jurisdiction on this court.

        Our determination that this appeal must be abated pursuant to Fed. R. App.

  P. 4(a)(4), has no bearing on whether Appellee’s motion was timely filed in

  accordance with any order issued by the district court. Nothing in this abatement

  precludes the district court from conducting its own assessment of the timeliness

  of Appellee’s motion.

        Appellant’s Motion to Vacate Abatement Order is denied. The abatement of

  this appeal shall continue. In accordance with the order of July 18, 2018, no later




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  than September 4, 2018, Appellant shall file a written report regarding the status

  of all three post-judgment motions (Doc. Nos. 311, 314, 316).


                                           Entered for the Court
                                           ELISABETH A. SHUMAKER, Clerk




                                           by: Jane K. Castro
                                               Counsel to the Clerk




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